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                                       UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF PENNSYLVANIA


IN RE:

    WILLIAM EDWARD MCCLINTOCK, II                                 Case No.:20-22706
    LEAH ANN MCCLINTOCK
             Debtor(s)

    Ronda J. Winnecour                                            Document No.:
               Movant
           vs.
    No Respondents.




                             TRUSTEE'S REPORT OF RECEIPTS AND DISBURSEMENTS
Ronda J. Winnecour, Trustee for the above case, submits the following final report and account of the administration of the
estate pursuant to 11 USC 1302 (b) (1).

     1. The case was filed on 09/17/2020 and confirmed on 01/13/2021 . The case was subsequently                  (D)
CONVERTED AFTER CONFIRMATION FUNDS TO DEBTOR

         2. The Trustee made the following disbursements.

Total Receipts                                                                                                   49,163.63
Less Refunds to Debtor                                                            2,423.94
TOTAL AMOUNT OF PLAN FUND                                                                                        46,739.69

Administrative Fees
   Filing Fee                                                                         0.00
   Notice Fee                                                                         0.00
   Attorney Fee                                                                       0.00
   Trustee Fee                                                                    1,899.66
   Court Ordered Automotive Insurance                                                 0.00
TOTAL ADMINISTRATIVE FEES                                                                                          1,899.66

Creditor Type Creditor Name             Claim Amount                          Prin Paid          Int Paid        Total Paid
Secured
   CU MEMBERS MORTGAGE - DIV COLONIAL SAVINGS FA0.00                         24,607.91               0.00        24,607.91
        Acct: 5541
   CU MEMBERS MORTGAGE - DIV COLONIAL SAVINGS
                                            18,513.15
                                               FA                             8,243.61               0.00         8,243.61
        Acct: 5541
   ONE MAIN FINANCIAL GROUP LLC(*)          20,400.00                         8,922.57          3,065.94         11,988.51
        Acct: 8833
                                                                                                                 44,840.03

Priority
    DAI ROSENBLUM ESQ                                           0.00              0.00               0.00               0.00
         Acct:
    WILLIAM EDWARD MCCLINTOCK, II                               0.00              0.00               0.00               0.00
         Acct:
    WILLIAM EDWARD MCCLINTOCK, II                           1,590.40          1,590.40               0.00               0.00
         Acct:
    WILLIAM EDWARD MCCLINTOCK, II                            833.54             833.54               0.00               0.00
         Acct:
                                                    ***NONE***
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Creditor Type Creditor Name                 Claim Amount      Prin Paid    Int Paid     Total Paid
Unsecured
    ALLEGHENY HEALTH NETWORK                         0.00          0.00       0.00            0.00
        Acct: 6965
    ARMSTRONG CABLE CO                               0.00          0.00       0.00            0.00
        Acct: 1402
    BUTLER AMBULANCE SERVICE                         0.00          0.00       0.00            0.00
        Acct: 0783
    BUTLER AREA SEWER AUTHORITY                      0.00          0.00       0.00            0.00
        Acct: 2420
    BUTLER MEDICAL PROVIDERS                         0.00          0.00       0.00            0.00
        Acct: 6372
    BUTLER MEMORIAL HOSPITAL                         0.00          0.00       0.00            0.00
        Acct:
    PORTFOLIO RECOVERY ASSOCIATES, LLC             336.25          0.00       0.00            0.00
        Acct: 3366
    FAMILY FOOT CARE ASSOCIATES                      0.00          0.00       0.00            0.00
        Acct: 256
    PRIMARY CARE ASSOCIATES OF BUTLER                0.00          0.00       0.00            0.00
        Acct: 1784
    UMR                                              0.00          0.00       0.00            0.00
        Acct: 5806
    UMR                                              0.00          0.00       0.00            0.00
        Acct: 0242
    WEST PENN POWER*                                 0.00          0.00       0.00            0.00
        Acct: 6631
    WEST PENN POWER*                                 0.00          0.00       0.00            0.00
        Acct: 4706
    ALLEGHENY HEALTH NETWORK                         0.00          0.00       0.00            0.00
        Acct:
    LVNV FUNDING LLC                               708.15          0.00       0.00            0.00
        Acct: 2147
    LVNV FUNDING LLC                               421.74          0.00       0.00            0.00
        Acct: 1609
    LVNV FUNDING LLC                               586.73          0.00       0.00            0.00
        Acct: 2353
    WEBCOLLEX LLC D/B/A CKS FINANCIAL              447.64          0.00       0.00            0.00
        Acct: 1269
    LVNV FUNDING LLC                             2,815.50          0.00       0.00            0.00
        Acct: 4837
    MIDLAND FUNDING LLC                              0.00          0.00       0.00            0.00
        Acct: 0921
    LVNV FUNDING LLC                               782.37          0.00       0.00            0.00
        Acct: 7718
    ONE MAIN FINANCIAL GROUP LLC(*)                393.63          0.00       0.00            0.00
        Acct: 8833
    BRICKHOUSE OPCO I LLC                          602.98          0.00       0.00            0.00
        Acct: 5729
    SYNCHRONY BANK                                   0.00          0.00       0.00            0.00
        Acct: 6028
    KML LAW GROUP PC*                                0.00          0.00       0.00            0.00
        Acct:
    CMC                                              0.00          0.00       0.00            0.00
        Acct:
                                           ***NONE***

TOTAL PAID TO CREDITORS                                                                 44,840.03
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  TOTAL CLAIMED
  PRIORITY                    0.00
  SECURED                38,913.15
  UNSECURED               7,094.99




  Date: 05/26/2023                                       /s/ Ronda J. Winnecour
                                                         RONDA J WINNECOUR PA ID #30399
                                                         CHAPTER 13 TRUSTEE WD PA
                                                         600 GRANT STREET
                                                         SUITE 3250 US STEEL TWR
                                                         PITTSBURGH, PA 15219
                                                         (412) 471-5566
                                                         cmecf@chapter13trusteewdpa.com
